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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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      JOEL R.,1                                    Case No. 2:21-cv-03794-RSWL-JC
11                              Plaintiff,
                                                   (PROPOSED)
12                      v.
                                                   ORDER ACCEPTING FINDINGS,
13                                                 CONCLUSIONS, AND
      KILOLO KIJAKAZI, Acting                      RECOMMENDATIONS OF UNITED
14    Commissioner of Social Security,             STATES MAGISTRATE JUDGE
15
                               Defendant.
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            The Court has conducted the review required by 28 U.S.C. § 636 and accepts
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     the findings, conclusions and recommendation of the Magistrate Judge reflected in
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     the June 14, 2022 Report and Recommendation of United States Magistrate Judge
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     (“Report and Recommendation”). The Court approves and accepts the Report and
20
     Recommendation.
21
            IT IS HEREBY ORDERED that (1) the decision of the Acting
22
     Commissioner of Social Security is reversed and the matter is remanded for further
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     administrative action consistent with the Report and Recommendation; and
24
     (2) Judgment be entered accordingly.
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             Plaintiff’s name is partially redacted to protect plaintiff’s privacy in compliance with
     Federal Rule of Civil Procedure 5.2(c)(2)(B) and the recommendation of the Committee on
28   Court Administration and Case Management of the Judicial Conference of the United States.
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 1        IT IS FURTHER ORDERED that the Clerk serve copies of this Order, the
 2 Report and Recommendation, and the Judgment on counsel for the parties.
 3        LET JUDGMENT BE ENTERED ACCORDINGLY.
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     DATED: July 6, 2022
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 6                                ____/S/ RONALD S.W. LEW ________
 7                                HONORABLE RONALD S.W. LEW
                                  UNITED STATES DISTRICT JUDGE
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